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                                   MINUTES



 CASE NUMBER:          2:16-cv-02292-LEK (USDC, Eastern District of California)
 CASE NAME:            Tyson Howard vs. DJI Technology, Inc., also known as
                       DJI Technology Co., LTD
 ATTYS FOR PLA:
 ATTYS FOR DEFT:
 INTERPRETER:


      JUDGE:     Leslie E. Kobayashi         REPORTER:

      DATE:      9/21/2017                   TIME:


COURT ACTION: EO: Case Management Status Conference set for 12/11/2017 at
11:30 AM (Hawaii time) before Judge Leslie E. Kobayashi. (Approximately 02:30 PM
E Dist of CA time).

All Counsel from the Eastern District of California to participate by telephone.
Courtroom Manager will contact counsel at the phone number listed on the Court docket
unless an alternate phone number is provided.

Submitted by: Warren N. Nakamura, Courtroom Manager
